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                  Exhibit 5
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                                                        U. S. Department of Justice


                                                        Federal Bureau of Investigation


                                                        9325 Discovery Blvd,
                                                        Manassas, Virginia 20109

 SUBMITTED VIA EMAIL
                                                        February 17, 2025


Citibank, N.A.
Attention: Rachel Goldberg, Head, U.S. Government Affairs
            Andy Taylor, Managing Director, Head of Federal, State & Local Government Segment
            Frank Leung, Vice President, Securities Services Legal – Issuer Services
5800 S. Corporate Place, MC451
Sioux Falls, South Dakota 57108

Re: Account Control Agreements, all held at Citibank

To Whom It May Concern:

Please accept this letter as a recommendation to place an administrative freeze on the account(s)
associated with the “Account Control Agreements” listed below for 30 days from the date of receipt of
this letter:

Account Control Agreement
Native CDFI Network, Inc., as Pledgor
United States Environmental Protection Agency, as Secured Party
and
Citibank, N.A., as Bank
Dated as of November 1, 2024

Account Control Agreement
Appalachian Community Capital Corporation, as Pledgor
United States Environmental Protection Agency, as Secured Party
and
Citibank, N.A., as Bank
Dated as of November 1, 2024

Account Control Agreement
Coalition for Green Capital, as Pledgor
United States Environmental Protection Agency, as Secured Party
and
       Case 1:25-cv-00698-TSC             Document 14-5         Filed 03/12/25       Page 3 of 6




Citibank, N.A., as Bank
Dated as of November 1, 2024

Account Control Agreement
Climate United Fund, as Pledgor
United States Environmental Protection Agency, as Secured Party
and
Citibank, N.A., as Bank
Dated as of November 1, 2024

Account Control Agreement
Justice Climate Fund, as Pledgor
United States Environmental Protection Agency, as Secured Party
and
Citibank, N.A., as Bank
Dated as of November 1, 2024

Account Control Agreement
Opportunity Finance Network, as Pledgor
United States Environmental Protection Agency, as Secured Party
and
Citibank, N.A., as Bank
Dated as of November 1, 2024

Account Control Agreement
Power Forward Communities, Inc., as Pledgor
United States Environmental Protection Agency, as Secured Party
and
Citibank, N.A., as Bank
Dated as of November 1, 2024

Account Control Agreement
Inclusiv, Inc., as Pledgor
United States Environmental Protection Agency, as Secured Party
and
Citibank, N.A., as Bank
Dated as of November 1, 2024

This recommendation is being made following credible information received by the Federal Bureau of
Investigation that the above account(s) has been involved in possible criminal violations, including 18 §
U.S.C. 371 (Conspiracy to defraud the United States) and 18 § U.S.C. 1343 (Wire fraud).
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If you have questions regarding this request, please contact the undersigned at             .



                                                        Sincerely,


                                                        Sean Thomas Ryan
                                                        Special Agent in Charge


                                                        By

                                                        Steven T. Dunn
                                                        Supervisory Special Agent
       Case 1:25-cv-00698-TSC             Document 14-5           Filed 03/12/25       Page 5 of 6




                                                             U. S. Department of Justice


                                                             Federal Bureau of Investigation


                                                             9325 Discovery Blvd,
                                                             Manassas, Virginia 20109

 SUBMITTED VIA EMAIL
                                                             February 17, 2025


Citibank, N.A.
Attention: Rachel Goldberg, Head, U.S. Government Affairs
           Andy Taylor, Managing Director, Head of Federal, State & Local Government Segment
            Frank Leung, Vice President, Securities Services Legal – Issuer Services
5800 S. Corporate Place, MC451
Sioux Falls, South Dakota 57108

Re: Entities and Associated Accounts, all held at Citibank

To Whom It May Concern:

As an addendum to the letter previously provided on this same date, please accept this supplemental
letter as an additional recommendation to place an administrative freeze on the account(s) associated
with the below-listed entity names for 30 days from the date of receipt of this letter:

 Entity Name
 Appalachia, Coal and Energy Communities, and Underserved America LLC (d/b/a Green Bank for Rural America)
 Mountain BizCapital
 CPC Climate Capital
 Colorado Clean Energy Fund
 Michigan Saves, Inc.
 Montgomery County Green Bank Corporation
 Solar and Energy Loan Fund
 California Infrastructure & Economic Development Bank
 DC Green Bank
 Efficiency Maine Trust
 Illinois Finance Authority
 Minnesota Climate Innovation Finance Authority
 State Environmental Improvement and Energy Resources Authority – Missouri
 State of New York Dept of Taxation and Finance
 City First Enterprises, Inc.
 New York City Energy Efficiency Corporation
 Connecticut Green Bank
 Community Development Venture Capital Alliance
 Ohio Air Quality Development Authority
 ICLEI Local Governments for Sustainability USA Inc.
       Case 1:25-cv-00698-TSC              Document 14-5            Filed 03/12/25       Page 6 of 6




 Entity Name
 Elemental GG LLC
 New Jersey Green Bank
 Enterprise Green Accelerator, Inc./Enterprise Communities
 Habitat Capital LLC
 Habitat for Humanity International, Inc.
 LISC Green LLC
 Rewiring America Community Investment Fund
 United Way Worldwide


This recommendation is being made following credible information received by the Federal Bureau of
Investigation that the above account(s) has been involved in possible criminal violations, including 18 §
U.S.C. 371 (Conspiracy to defraud the United States) and 18 § U.S.C. 1343 (Wire fraud).


If you have questions regarding this request, please contact the undersigned at                  .



                                                             Sincerely,


                                                             Sean Thomas Ryan
                                                             Special Agent in Charge


                                                             By

                                                             Steven T. Dunn
                                                             Supervisory Special Agent
